         Case 1:09-cv-00454-RMU Document 18 Filed 05/07/09 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

TRACEY HANSON et al.,                       :
                                            :
                      Plaintiffs,           :      Civil Action No.:     09-0454 (RMU)
                                            :
                      v.                    :      Document Nos.:        7, 12
                                            :
DISTRICT OF COLUMBIA et al.,                :
                                            :
                      Defendants.           :

                                           ORDER

             GRANTING THE DEFENDANTS’ MOTION TO CONSOLIDATE AND
        DENYING AS MOOT THE DEFENDANTS’ MOTION TO STAY PENDING BRIEFING

       For the reasons stated in the court’s Memorandum Opinion separately and

contemporaneously issued this 7th day of May, 2009, it is hereby

       ORDERED that the defendants’ motion to consolidate this action with Heller v. District

of Columbia, Civil Action No. 08-1289, is GRANTED; and it is

       FURTHER ORDERED that the defendants’ motion to stay pending briefing is

DENIED as moot.

       SO ORDERED.



                                                    RICARDO M. URBINA
                                                   United States District Judge
